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January 13, 2025

Hon. Ona T. Wang
United States Magistrate Judge
Southern District of New York
               Re:     The New York Times Company v. Microsoft Corporation, et al., 1:23-cv-
                       11195; Daily News, LP, et al. v. Microsoft Corporation, et al., 1:24-cv-3285
Dear Magistrate Judge Wang:

       I write on behalf of Plaintiffs Daily News, LP, et al. (the “Daily News Plaintiffs) and The
New York Times Company (“The Times”) (collectively, the “News Plaintiffs”). We ask that you
order OpenAI to preserve output log data on a going-forward basis for OpenAI’s generative AI
products at issue, including ChatGPT, SearchGPT, APIs, Browse, and certain Custom “GPTs”,
and to identify the nature and extent of output log data which it has destroyed at least since
December 27, 2023, when The Times filed its initial Complaint.

    I.   FACTUAL BACKGROUND
        News Plaintiffs made it abundantly clear to OpenAI that output logs are relevant to the
claims in these cases. The Times’s initial Complaint repeatedly asserts that the output of OpenAI’s
products based on the GPT large language models directly infringes The Times’s copyrights,
misappropriates its “hot news,” and/or dilutes its trademarks. See, e.g., The New York Times
Company v. Microsoft Corporation, et al., 1:23-cv-11195, Dkt. 1 at ¶¶ 98-101 (“[T]he current
GPT-4 LLM will output near-verbatim copies of significant portions of Times Works when
prompted to do so.”); id., ¶¶ 102-07 (detailing example infringing outputs in section entitled
“Unauthorized Public Display of Times Works in GPT Product Outputs”); id., ¶¶ 108-23 (similarly
providing examples of unauthorized retrieval and dissemination of current news); id., ¶¶ 136-42
(referring to “‘Hallucinations Falsely Attributed to The Times”). The Daily News Plaintiffs’
Complaint raises similar issues about the output of OpenAI’s GPT-based products with respect to
their copyright, “hot news”, and trademark claims. E.g., Daily News, LP, et al. v. Microsoft
Corporation, et al., 1:24-cv-3285, Dkt. 1 at ¶¶ 96-138 and 170-76.

       The Times also sent a letter to OpenAI stating that “OpenAI is obligated to preserve all
documents related to … output generated by the Models, including output that repeats or
summarizes training material or contains hallucinations or misinformation … [and] use of The
Times’s content for retrieval augmented generation….” Declaration of Jennifer Maisel (“Maisel
Decl.”), Ex. 1, pp. 1-2. On February 29, 2024, OpenAI responded to The Times, indicating that
they were not going to preserve certain categories of output log data.1 Maisel Decl., Ex. 2. In
connection with this and other preservation issues OpenAI raised during discussions of the Parties’
Rule 26(f) report, The Times indicated that it “will comply with our preservation obligations and
expect [OpenAI] to do the same.” Maisel Decl., Ex. 3. After these discussions, all Parties
represented to the Court that the output of OpenAI’s models were relevant to the case in the Parties’



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 No similar letter was sent to the Daily News Plaintiffs until November 15, 2024, as described
below.
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March 8, 2024, Rule 26(f) Report. The New York Times Company v. Microsoft Corporation, et al.,
1:23-cv-11195, Dkt. 72 at 2-4, 7, 10, 15, 17.

        The News Plaintiffs issued several discovery requests related to OpenAI’s output log data.
For example, Request for Production No. 45 asks for “Query, session, and chat logs reflecting or
analyzing user sessions related to the Publishers’ Content within Defendants’ Generative AI
Products and Services, including, for each session, user queries paired with responses to those
queries.” Maisel Decl., Exs. 4-5. Similarly, Request for Inspection No. 6 asks for “Query, session,
and chat logs related to [News Plaintiffs’] Content reflecting user sessions on Your Generative AI
Products and Services (‘Session Data’), including, for each session, user queries paired with
responses to those queries.” Maisel Decl., Exs. 6-7. OpenAI’s responses and objections did not
indicate that they were not preserving the requested information. Maisel Decl., Ex. 8-11.

        It was not until OpenAI sent a letter to News Plaintiffs on November 15, 2024, that News
Plaintiffs became aware that OpenAI was not preserving all relevant output log data that had long
been requested and was the subject of on-going negotiations as it related to News Plaintiffs’
requests for inspection. Maisel Decl., Ex. 12. New Plaintiffs sent a responsive letter requesting
OpenAI to “(1) identify any output containing content from any of the News Plaintiffs that has
been deleted; and (2) confirm in writing no later than December 17th, 2024 that you will hereafter
preserve ChatGPT user conversations containing any of the News Plaintiffs’ content.” Maisel
Decl., Ex. 13. News Plaintiffs asked OpenAI four separate times to meet and confer on the issue,
and OpenAI has failed to agree or to confirm that it will preserve all relevant output data
hereinafter.2 Maisel Decl., Ex. 14.

    II.   ARGUMENT
         OpenAI has a duty to preserve information relevant to the asserted claims—which in these
cases includes its output log data. “Once a party reasonably anticipates litigation, it must suspend
its routine document retention/destruction policy and put in place a ‘litigation hold’ to ensure the
preservation of relevant documents.” Zubulake v. UBS Warburg LLC, 220 F.R.D. 212, 218
(S.D.N.Y. 2003). Accordingly, OpenAI had the duty to ensure the preservation of all ChatGPT
user conversations, notwithstanding the retention period prescribed by OpenAI’s data retention
policy. See Elavon, Inc. v. Ne. Advance Techs., Inc., No. 15-civ-7985, 2022 WL 1175039, at *3
(S.D.N.Y. Apr. 20, 2022) (finding that Plaintiff did not satisfy its duty to preserve documents
where it did not suspend its 90-day retention policy and “allowed its automatic deletion policy to
run its course unabated, which lead to the destruction of its emails”); see also Arista Recs. LLC v.
Usenet.com, Inc., 608 F. Supp. 2d 409, 433 n.36 (S.D.N.Y. 2009) (“Courts have recognized the
relevance of user log data and infringing digital files in copyright infringement actions, and they

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  News Plaintiffs are pursuing a Rule 30(b)(6) custodial deposition with OpenAI on, inter alia,
topics related to OpenAI’s output logs. On a meet and confer on January 10, OpenAI indicated
that the output log related topics were a “merits” issue and did not agree to put up any witness to
speak on custodial issues relating to its output logs. Maisel Decl., ¶ 16.
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have ordered litigants to preserve and produce such data.”). OpenAI’s duty to preserve all
ChatGPT user conversations arose no later than December 27, 2023, when The Times filed its
initial Complaint. See Arista Recs. LLC v. Usenet.com, Inc., 633 F. Supp. 2d 124, 139 (S.D.N.Y.
2009) (“There can be no dispute that the Defendants were under an obligation to preserve all
documents and communications stored on their employees' computers, at least as early as the start
of this litigation.”).

        OpenAI has not explained why it cannot preserve the data, or detailed the alleged burden
of preserving the data. Data storage is cheap and abundant, even at the scale of data at issue here—
and is a service provided, in fact, by OpenAI’s partner and co-defendant, Microsoft. However,
because OpenAI has not been preserving all of its output log data as it is required to do, News
Plaintiffs request that the Court order OpenAI to: (1) preserve its output log data, including output
log data that contains News Plaintiffs’ content, hereinafter,3 and (2) identify all output log data
that has been destroyed, when it was destroyed, and whether it is retrievable.


January 13, 2025                                      Respectfully submitted,

                                                      /s/ Steven Lieberman
                                                      Steven Lieberman
                                                      Rothwell, Figg, Ernst & Manbeck, P.C.

                                                      /s/ Ian B. Crosby
                                                      Ian B. Crosby
                                                      Susman Godfrey L.L.P.

    cc:   All Counsel of Record (via ECF)




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  The present motion concerns the preservation of output log data on a going-forward basis.
News Plaintiffs are not now seeking sanctions or other remedies against OpenAI for its
destruction of certain output log data since the inception of these lawsuits, but reserves the right
to do so in the future.
